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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                              :          Chapter 11
                                                    :
PARAGON OFFSHORE PLC, et al.,                       :          Case No.: 16-10386 (CSS)
                                                    :
                      Debtors.                      :
                                                    :
PARAGON LITIGATION TRUST,                           :
                                                    :
                      Plaintiff,                    :
                                                    :
         v.                                         :          Adv. Proc. No.: 17-51882 (CSS)
                                                    :
NOBLE CORPORATION PLC, NOBLE                        :
CORPORATION HOLDING LTD,                            :
NOBLE HOLDINGS INTERNATIONAL                        :
(LUXEMBOURG) S.A.R.L., NOBLE                        :
FDR HOLDINGS LIMITED, ASHLY                         :
ALMANZA, JULIE H. EDWARDS,                          :
GORDON T. HALL, JON A.                              :
MARSHALL, JAMES A MACLENNAN,                        :
MARY P. RICCIARDELLO, JULIE J.                      :
ROBERTSON, AND DAVID WILLIAMS,                      :
                                                    :
                      Defendants.                   :
                                                    :

                             NOTICE OF LAW FIRM CHANGE

         PLEASE TAKE NOTICE that Joseph A. Matteo, Esq., admitted pro hac vice in this

adversary proceeding as counsel for defendant Noble Corporation PLC, has changed law firms as

reflected in the signature block below.

Dated: August 3, 2020

                                                    MACAULEY LLC

                                                 /s/ Thomas G. Macauley
                                                Thomas G. Macauley (No. 3411)
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                               -and-

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                          Noble Corporation PLC




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